
BYBEE, Circuit Judge,
concurring in the judgment:
I respectfully disagree with the majority’s decision to approve the Ocotillo Wind Enérgy Facility (“OWEF”) because the BLM amended its California Desert Conservation Area Plan (“CDCA Plan”). In my view the BLM approved the OWEF project because it conformed to the CDCA Plan, not as a way of short circuiting our review.
Since 1980, the CDCA Plan has provided that wind energy generation facilities for this land classification “[m]ay be allowed after NEPA requirements are met.” Here, the BLM did exactly what it was supposed to do. It prepared an exhaustive environmental impact statement. It carefully considered the impact that the proposed project would have on cultural and natural resources in the area and, in response, it reduced the footprint of the project. The BLM also acknowledged that it could not satisfy all of the competing claims tó the land and, in an exercise of its judgment, it decided to approve the OWEF. Only after it had satisfied itself that it had heard from all interested parties, considered their views, followed the processes set forth in the CDCA Plan, and determined that the project conformed with the Plan’s requirements, did the BLM amend the CDCA Plan. In my view, the BLM did not amend the CDCA Plan to avoid the Plan’s requirements and this court’s scrutiny under the APA; it amended the CDCA Plan to reflect that the OWEF project was consistent with the Plan and to add OWEF to a list of approved energy development sites in the CDCA. The BLM’s careful and considered decision was model and is not “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).
I concur in the judgment.
